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                                            United States District Court                              ntC 042011
                                       EASTERN DISTRICT OF CALIFORNIA


                                                           )
                   United States of America                )
                              vs.                          )   Case No. 1:16-cr-00049 - LJO/SKO - 002
                                                           )
                         Ashley Williams                   )

                       CONSENT TO MODIFY CONDITIONS OF RELEASE
  I,        Ashley Williams         , have discussed with           Francisco 1. Guerrero            , Pretrial Services
  Officer, modifications of my release conditions as follows:
             The condition requiring the defendant released to the third party custody of Yves Hughes is removed.
             All other conditions not in conflict with this order shall remain in full force and effect.




  I consent to this modification of my release conditions and agree to abide by this modification.

  b~
  Signature 0
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                                             Date                Pretrial Services Officer
                                                                                                            12/0112017
                                                                                                         Date



      I ha e r viewed the conditions and concur that this modification is appropriate.



--­        u e of Assistant United States Attorney




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                                                                                             Date



    . /'                                  0     ROF THE COURT
  [B"The above modification of condi ions of elease is ordered, to be effective on
  D  The above modification of condit!



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                                                                                             Date
  cc:        U.S. Attorney's Office, Defense Counsel, Pretrial Services
